                        Case 15-11880-BLS      Doc 195-3       Filed 09/30/15   Page 1 of 4

                                                                                  Akin Gump Strauss Hauer & Feld LLP
3 TIMES SQUARE ASSOCIATES LLC                  404 WEST LLC
                                                                                  Michael S Stamer Meredith A Lahaie
     JP MORGAN CHASE BANK              C/O WINTER MANAGEMENT CORP
                                                                                           One Bryant Park
        GPO P.O. BOX 27488                     730 FIFTH AVE
                                                                                        Bank of America Tower
       NEW YORK, NY 10087                   NEW YORK, NY 10019
                                                                                       New York, NY 10036-6745


    Assistant Attorney General                  Ballard Spahr LLP
                                                                                          Ballard Spahr LLP
          Jason A Starks                         David L Pollack
                                                                                   Matthew Summers, Leslie Heilman
 Bankruptcy & Collections Division       51st Floor - Mellon Bank Center
                                                                                     919 Market Street, 11th Floor
          PO Box 12548                         1735 Market Street
                                                                                        Wilmington, DE 19801
     Austin, TX 78711-2548                   Philadelphia, PA 19103


           Bayard PA                        Bewley Lassleben & Miller LLP                   BLT Enterprises
        Justin R Alberto                         Ernie Zachary Park                         Robert Solomon
   222 Delaware Ave Suite 900                13215 E Penn St Suite 510                    501 Spectrum Circle
     Wilmington, DE 19801                     Whittier, CA 90602-1797                      Oxnard, CA 93030


                                           C & K TRADING CO., LTD.
      Brown & Connery LLP
                                                   CK JUNG                      CARMICHAEL INTERNATIONAL SERVICE
        Donald K. Ludman
                                         867 Woo 1-Dong Haeundae-Gu                       P.O. Box 51025
  6 North Broad Street, Suite 100
                                               Busan, 13 612-822                       Los Angeles, CA 90051
      Woodbury, NJ 08096
                                                  South Korea


 Chipman Brown Cicero & Cole LLP
                                                                                  COINS INTERNATIONAL CO., LTD.
      William E Chipman Jr                       Clayton Blehm
                                                                                     7F-1, No. 89 Bo Guan Road
      The Nemours Building               770 Sycamore Avenue, Suite 122
                                                                                         Taichung, TWN 404
    1007 N Orange St Ste 1110                   Vista, CA 92083
                                                                                               Taiwan
      Wilmington, DE 19801


       Cooch & Taylor PA                           Cooley LLP
        Susan E Kaufman                   Jay R Indyke Cathy Hershcopf                  CPG PARTNERS LP
      1000 West St 10th Fl               Seth Van Aalten Robert Winning                   P.O. BOX 827727
     The Brandywine Building              1114 Avenue of the Americas                 PHILADELPHIA, PA 19182
      Wilmington, DE 19899                    New York, NY 10036


    Delaware Attorney General                                                         Delaware Secretary of State
                                              Delaware Dept of Justice
          Matthew Denn                                                                      Franchise Tax
                                                Attn Bankruptcy Dept
    Carvel State Office Building                                                          401 Federal Street
                                               820 N French St 6th Fl
         820 N French St                                                                     PO Box 898
                                               Wilmington, DE 19801
      Wilmington, DE 19801                                                                 Dover, DE 19903


                                            DELTINA TRADING PTY LTD.               DRAGON CROWD GARMENT INC
     Delaware State Treasury                      ALAN FENNEL                                  EDWARD
  820 Silver Lake Blvd., Suite 100              Unit 2, 32 Bell Street                 Fl/5 Bldg A, C&E Centre
         Dover, DE 19904                         Torquay, VIC 3228                       Ningbo, 130 315040
                                                      Australia                                  China


    DUBHE CORPORATION                EASTMAN EXPORTS GLOBAL CLOTHING
                                                                                    Environmental Protection Agency
   Che-Il Bldg Rm 1501, 256-13          10, 12, KUMARANAGAR (SOUTH)
                                                                                             1650 Arch St
        Seoul, 13 121-758                       TIRUPUR, 641603
                                                                                     Philadelphia, PA 19103-2029
           South Korea                               India


                                               Foley & Lardner LLP
    Ezra Brutzkus Gubner LLP                                                          FULL CREATIVE CO, LTD
                                       Mark L Prager Mark F Hebbeln Lars A
        Steven T Gubner                                                                 No.4 Jin-Ying 2Nd St.
                                                    Peterson
    21650 Oxnard St Ste 500                                                            Dongguan, 190 523942
                                             321 N Clark St Ste 2800
    Woodland Hills, CA 91367                                                                    China
                                             Chicago, IL 60654-5313
                        Case 15-11880-BLS     Doc 195-3        Filed 09/30/15   Page 2 of 4

                                                                                    Goodsill Anderson Quinn & Stifel
 GGP Limited Partnership, as Agent              Global Brands Group
                                                                                          Jonathan C Bolton
         Kristen N. Pate                          Attn Martin Leder
                                                                                        First Hawaiian Center
       110 N. Wacker Drive                         12 Princeton Dr
                                                                                       999 Bishop St Ste 1600
        Chicago, IL 60606                        Tappan, NY 10903
                                                                                         Honolulu, HI 96813


      Greenberg Taurig LLP                                                          HONG KONG HESHENG INT'L
                                               Greenberg Taurig LLP
         Dennis A Meloro                                                                    TOME ZHENG
                                                  Jeffrey M Wolf
      The Nemours Building                                                        Rm 1102, Wofoo Commercial Building
                                               One International Place
    1007 N Orange St Ste 1200                                                           Kowloon, KLN 999077
                                                 Boston, MA 02110
      Wilmington, DE 19801                                                                   Hong Kong


     Internal Revenue Service                Internal Revenue Service                   Internal Revenue Service
  Centralized Insolvency Operation        Centralized Insolvency Operation                  Insolvency Section
           2970 Market St                           PO Box 7346                         31 Hopkins Plz Rm 1150
      Philadelphia, PA 19104               Philadelphia, PA 19101-7346                    Baltimore, MD 21201



Jeffer Mangels Butler & Mitchell LLP          Jeffrey S Shinbrot APLC                      Jung & Yuen, LLP
       Joseph A Eisenberg PC                     Jeffrey S. Shinbrot                        Curtis Jung, Esq.
  1900 Avenue of the Stars 7th Fl           8200 Wilshire Blvd Suite 400              888 S. Figueroa St., Suite 720
       Los Angeles, CA 90067                  Beverly Hills, CA 90211                    Los Angeles, CA 90017



   Katten Muchin Rosenman LLP              Katten Muchin Rosenman LLP                            KCC
        c/o Dustin P Branch                   Jessica Mickelsen Simon                          Mike Hill
  2029 Century Park East Ste 2600         2029 Century Park East Ste 2600                   2335 Alaska Ave
    Los Angeles, CA 90067-3012              Los Angeles, CA 90067-3012                   El Segundo, CA 90245


                                                 Kirkland & Ellis LLP
        Kirkland & Ellis LLP              Attn: Patrick J. Nash, Jr., Ross M.                 LeClairRyan
       Attn: David Nemecek               Kwasteniet, William A. Guerrieri, W.              Andrew Cole, Esq.
      333 South Hope Street                       Benjamin Winger                    800 North King Street, Suite 303
      Los Angeles, CA 90071                    300 North LaSalle Street                  Wilmington, DE 19801
                                                  Chicago, IL 60654

                                       Linebarger Goggan Blair & Sampson LLP
             LeClairRyan                                                         Linebarger Goggan Blair & Sampson LLP
                                                   Elizabeth Weller
Niclas A Ferland Esq Ilan Markus Esq                                                         John P Dillman
                                             2777 N. Stemmons Freeway
      545 Long Wharf Dr 9th Fl                                                                PO Box 3064
                                                      Suite 1000
       New Haven, CT 06511                                                              Houston, TX 77253-3064
                                                  Dallas, TX 75207

                                           MERRY LINK DEVELOPMENT                   Missouri Department of Revenue
                                        (MACAO COMMERCIAL OFFSHORE)                         Bankruptcy Unit
       MCKNIGHT,ROBERT
                                                     LIMITED                             Attn Sheryl L Moreau
        167 Emerald Bay
                                       Alameda Dr Caros D'Assumpcao No 336           301 W. High Street, Room 670
     Laguna Beach, CA 92651
                                                Macau, MO 999078                              PO Box 475
                                                      Macau                         Jefferson City, MO 65105-0475

                                         Morris, Nichols, Arsht & Tunnell LLP
                                          Attn Robert J. Dehney, Andrew R.            New Generation Advisors LLC
     MOONEY,ANDREW P.
                                             Remming, Tamara K. Minott                      Attn Baily Dent
         PO Box 69447
                                             1201 North Market St 16th Fl                      13 Elm St
    West Hollywood, CA 90069
                                                     PO Box 1347                        Manchester, MA 01944
                                             Wilmington, DE 19899-1347

                                                                                NORTHSTAR SOURCING GROUP HK LTD
      NEWTIMES FAR EAST                  NINGBO ISUN FASHION CO. LTD
                                                                                          DAVE PERKINS
     Unit D, 7th Floor, Phase 5              East Fenghua Industrial
                                                                                    Room 602, 6/F, Oriental Centre
      Kowloon, KLN 999077                     Ningbo, 130 315500
                                                                                       Kowloon, KLN 999077
             Hong Kong                               China
                                                                                            Hong Kong
                          Case 15-11880-BLS        Doc 195-3        Filed 09/30/15     Page 3 of 4

                                                                                           Office of the United States Trustee
                                                                                                         Delaware
      O’MELVENY & MYERS LLP                      O’MELVENY & MYERS LLP
                                                                                                  Attn Mark S. Kenney
   400 SOUTH HOPE STREET, #1060                      PO BOX 894436
                                                                                                  844 King St Ste 2207
       LOS ANGELES, CA 90071                   LOS ANGELES, CA 90189-4436
                                                                                                        Lockbox 35
                                                                                              Wilmington, DE 19899-0035


       ORIGINAL JY&T CO. LTD.              Parker Milliken Clark O'Hara & Samuelian      Patterson Belknap Webb & Tyler LLP
           Sanchong Dist.                               Thomas E Shuck                    David W Dykhouse Brian P Guiney
       New Taipei City, TPE 241                    555 S Flower St 30th Fl                   1133 Avenue of the Americas
               Taiwan                           Los Angeles, CA 90071-2440                    New York, NY 10036-6710


         Pepper Hamilton LLP
                                           Perdue Brandon Fielder Collins & Mott LLP                 Port Logistics
David B Stratton David M Fournier John H
                                                         Arlington ISD                    c/o Pamela Kohlman Webster, Esq.
               Schanne II
                                                  c/o Elizabeth Banda Calvo                        Buchalter Nemer
       Hercules Plaza, Suite 5100
                                                   500 E Border St Ste 640                  1000 Wilshire Blvd., Suite 1500
            1313 N Market St
                                                     Arlington, TX 76010                        Los Angeles, CA 90017
      Wilmington, DE 19899-1709

PUTIAN XINXIESHENG FOOTWEAR CO.,                                                               Riemer & Braunstein LLP
                                                    QTNP APPARELS JSC
                    LT                                                                             Attn Steven Fox
                                           NO. 18, LOT 8, LONG BIEN RESETTLEME
     Liuxian, Laidian Town, Xianyou                                                              Seven Times Square
                                                       HA NOI, 10000
           Putian, 150 351251                                                                         Suite 2506
                                                           Vietnam
                  China                                                                          New York, NY 10036


                                                    Samil Tong Sang Co                         SAMIL TONG SANG CO.
        Riemer & Braunstein LLP
                                                         Attn Ian Im                               BONG GYU LIM
            David S. Berman
                                                   18-130 Gangdong-Dong                        18-130 Gangdong-Dong
           Three Center Plaza
                                                     Busan, 13 618-800                           Busan, 13 618-800
           Boston, MA 02108
                                                        South Korea                                 South Korea

                                                                                        Securities & Exchange Commission NY
                                              Securities & Exchange Commission
   Securities & Exchange Commission                                                                     Office
                                               Sharon Binger Regional Director
       Secretary of the Treasury                                                         Andrew Calamari Regional Director
                                                       One Penn Center
               100 F St NE                                                                          Brookfield Place
                                                 1617 JFK Boulevard Ste 520
         Washington, DC 20549                                                                    200 Vesey St, Ste 400
                                                   Philadelphia, PA 19103
                                                                                              New York, NY 10281-1022


          Seward & Kissel LLP                     Simon Property Group, Inc            Skadden, Arps, Slate, Meagher & Flom LLP
           John R Ashmead                        Attn: Ronald M. Tucker, Esq.                       John K Lyons
         One Battery Park Plaza                  225 West Washington Street                        155 N Wacker Dr
          New York, NY 10004                        Indianapolis, IN 46204                        Chicago, IL 60606


                                              SRINIVASA FASHIONS PVT LTD
Skadden, Arps, Slate, Meagher & Flom LLP                                                    Stroock & Stroock & Lavan LLP
                                                       Factory Unit #3
              Van C Durrer                                                                       Andrew P DeNatale
                                             Plot No. AP4, 5th Avenue, 2nd Cross
  300 South Grand Avenue, Suite 3400                                                                180 Maiden Ln
                                                    Chengalpat, 22 603002
         Los Angeles, CA 90071                                                                   New York, NY 10038
                                                             India


                                            T. Rowe Price Credit Opportunities Fund
SUMEC TEXTILE & LIGHT INDUSTRY CO                                                               The Taubman Company
                                               c/o T. Rowe Price Associates, Inc.
     13F, 198 Changjiang Road                                                                   Andrew S Conway Esq
                                                       Attn Andrew Baek
        Nanjing, 100 210018                                                                200 East Long Lake Road Ste 300
                                                       100 E. Pratt Street
               China                                                                           Bloomfield Hills, MI 48304
                                                      Baltimore, MD 21202


                                                U.S. Bank National Association                US Attorney for Delaware
 U.S. BANK AS INDENTURE TRUSTEE
                                                Justin L. Shearer Vice President            Charles Oberly c/o Ellen Slights
 U.S. BANK NATIONAL ASSOCIATION
                                                Global Corporate Trust Services                1007 Orange St Ste 700
         60 LIVINGSTON AVE
                                                  100 Wall Street, Suite 1600                       PO Box 2046
         ST. PAUL, MN 55107
                                                      New York, NY 10005                     Wilmington, DE 19899-2046
                         Case 15-11880-BLS   Doc 195-3       Filed 09/30/15   Page 4 of 4

                                         Wilfrid Global Opportunity Fund       Womble Carlyle Sandridge & Rice, LLP
  WEIHAI TEXTILE IMP AND EXP CO
                                              c/o Wilfrid Aubrey LLC                 Attn Steven K Kortanek
      No. 16 Shichang Da Road
                                                Attn Nicholas Walsh                  222 Delaware Avenue
         Weihai, 120 264200
                                                465 Lexington Ave                          Suite 1501
               China
                                               New York, NY 10174                    Wilmington, DE 19801


 Womble Carlyle Sandridge & Rice, LLP
                                                                              XIAMEN C&D LIGHT INDUSTRY CO., LTD.
  Steven K Kortanek Thomas M Horan         WORLD MARKETING, INC.
                                                                                     15th Floor Seaside Bldg.
          Morgan L Patterson             306 38TH STREET, 8TH FLOOR
                                                                                       Xiamen, 150 361000
     222 Delaware Ave Suite 1501             NEW YORK, NY 10018
                                                                                              China
        Wilmington, DE 19801


ZHEJIANG XISHI JIAFANG TEXTILE CO L
      Paitou Village Paitou Town
          Zhuji, 130 311825
                 China
